                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                      CIVIL ACTION NO.: 3:17-cv-00022-KDB-DCK

 Curtis Neal, on behalf of himself                    )
 and others similarly situated,                       )
                                                      )
                Plaintiff,                            )
                                                      )
 v.                                                   )
                                                      )
 Wal-Mart Stores, Inc., d/b/a Walmart                 )
 and                                                  )
                                                           ORDER (1) CONDITIONALLY
 Synchrony Bank, f/k/a GE Capital Retail Bank,        )
                                                           CERTIFYING A SETTLEMENT
                                                      )
                                                           CLASS, (2) PRELIMINARILY
                Defendants.                           )
                                                           APPROVING CLASS ACTION
                                                      )
                                                           SETTLEMENT, (3) APPROVING
                                                      )
                                                           NOTICE PLAN AND (4)
 Roy Campbell on behalf of himself                    )
                                                           SETTING FINAL APPROVAL
 and all others similarly situated,                   )
                                                           HEARING
                                                      )
                Plaintiff,                            )
                                                      )
 v.                                                   )
                                                      )
 Synchrony Bank,                                      )
                                                      )
                Defendant.                            )


       This matter came before the Court on Plaintiffs’ Motion for Preliminary Approval (the

“Motion”) of the proposed class action settlement (the “Settlement”) of the above-captioned cases

and all Actions related thereto. Based on this Court’s review of the Motion, the Parties’ Settlement

Agreement and Release (Dkt. 115) (the “Agreement”), all other matters in the record and the

supporting memorandum of counsel, THE COURT HEREBY FINDS AND ORDERS AS

FOLLOWS:

       1.      Settlement Terms. Unless otherwise defined herein, all terms in this Order shall

have the meanings ascribed to them in the Agreement.



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        2.      Jurisdiction. The Court has jurisdiction over the subject matter of the Actions, the

Parties, and all persons in the Settlement Class with respect to the matters ordered herein.

        3.      Scope of Settlement. The Agreement resolves all released claims alleged in the

Actions and related thereto, as set forth in greater detail in the Agreement.

        4.      Preliminary Approval of Proposed Agreement.           The Court has conducted a

preliminary evaluation of the Settlement as set forth in the Agreement. Based on this preliminary

evaluation, the Court finds that: (a) the Agreement is fair, reasonable and adequate, and within the

range of possible approval; (b) the Agreement has been negotiated in good faith at arm’s length

between experienced attorneys familiar with the legal and factual issues of this case; and (c) with

respect to the forms of notice of the material terms of the Settlement to persons in the Settlement

Class for their consideration (Exs. 2, 3, 4, 5 to the Agreement), that notice is appropriate and

warranted, meets the requirements of Rule 23(c)(2)(B) and due process, constitutes the best notice

practicable under the circumstances, and constitutes due and sufficient notice to all persons and

entities entitled to the notice.

        5.      Therefore, the Court grants preliminary approval of the Settlement.

        6.      In compliance with the Class Action Fairness Act of 2005, 28 U.S.C. §§ 1332(d),

1453, and 1711-1715, Defendant, through a claims administrator, will cause to be served written

notice of the proposed class settlement on the United States Attorney General and the Attorneys

General of each state in which any settlement class member resides.

        7.      Class Certification for Settlement Purposes Only. The Court, pursuant to Rule 23

of the Federal Rules of Civil Procedure, conditionally certifies, for purposes of this Settlement

only, the following Settlement Class:

                All persons and entities throughout the United States (1) to whom
                Synchrony Bank placed, or caused to be placed (either by one of its own

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               employees or by an agent or vendor), a call, (2) directed to a telephone
               number assigned to a cellular telephone service, (3) by using an automatic
               telephone dialing system or an artificial or prerecorded voice, (4) from June
               17, 2016 through the date of the Preliminary Approval Order, (5) where the
               subject of the call was a Synchrony account that did not belong to the
               recipient of the call, and (6) where the recipient of the call did not provide
               Synchrony the telephone number to which it placed, or caused to be placed,
               the call.

               Excluded from the Settlement Class are the Judges to whom the Actions are
               assigned and any member of the Judges’ staff and immediate family, as well
               as all persons who are validly excluded from the Settlement Class.

       8.      In connection with this conditional certification, the Court makes the following

preliminary findings:

               (a)      The Settlement Class appears to be so numerous that joinder of all members

is impracticable;

               (b)      There appear to be questions of law or fact common to the Settlement Class

for purposes of determining whether the Settlement should be approved;

               (c)      Plaintiffs’ claims appear to be typical of the claims being resolved through

the Settlement;

               (d)      Plaintiffs appear to be capable of fairly and adequately protecting the

interests of all members of the Settlement Class in connection with the Settlement;

               (e)      For purposes of determining whether the Agreement is fair, reasonable and

adequate, common questions of law and fact appear to predominate over questions affecting only

individual persons in the Settlement Class. Accordingly, the Settlement Class appears to be

sufficiently cohesive to warrant settlement by representation; and

               (f)      For purposes of the Settlement, certification of the Settlement Class appears

to be superior to other available methods for the fair and efficient settlement of the claims of the

Settlement Class.


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         9.    Class Representative. The Court appoints Plaintiffs to act as class representatives

of the Settlement Class pursuant to Rule 23 of the Federal Rules of Civil Procedure.

         10.   Class Counsel. The Court hereby appoints Aaron Radbil of Greenwald Davidson

Radbil PLLC and Stephen Taylor of Lemberg Law, LLC as Class Counsel pursuant to Rule 23 of

the Federal Rules of Civil Procedure.

         11.   Settlement Claims Administrator. Angeion Group is hereby appointed as the

Claims Administrator and shall be required to perform all the duties of the Claims Administrator

as set forth in the Agreement and this Order.

         12.   Class Notice. The Court approves the proposed plan for giving notice to the

Settlement Class directly (using e-mail and post cards) and through a publication/media program

and establishment of a Settlement Website, as more fully described in Plaintiffs’ Motion and the

Agreement (“Notice Plan”). The Notice Plan, in form, method and content, complies with the

requirements of Rule 23 of the Federal Rules of Civil Procedure and due process and constitutes

the best notice practicable under the circumstances. The Court additionally finds that the proposed

notices are clearly designed to advise the settlement class members of their rights. The Court

hereby directs the Parties and the Claims Administrator to cause notice to issue on or before

November 30, 2020 (“Notice Deadline”) and in accordance with the terms of the Settlement

Agreement. Notwithstanding anything else in the Notice Plan, the Settlement Website shall be

established not later than 14 days after entry of this Preliminary Approval Order.

         13.   The Claims Administrator will file with the Court by no later than Tuesday,

December 1, 2020, proof that notice was provided in accordance with the Agreement and this

Order.




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       14.     Final Approval Hearing. At 10:00 AM on Monday, March 15, 2021, at the United

States Courthouse, 401 W. Trade St., Charlotte, North Carolina, or at such other date and time

later set by Court Order, this Court will hold a Final Approval Hearing on the fairness, adequacy

and reasonableness of the Agreement and to determine whether (a) final approval of the Settlement

embodied in the Agreement should be granted, and (b) Class Counsel’s application for attorneys’

fees and expenses, and service awards to Plaintiffs, should be granted, and in what amount. No

later than thirty (30) days after the Notice Deadline, Plaintiffs must file papers in support of Class

Counsel’s application for attorneys’ fees and expenses and the service awards to Plaintiffs. No

later than fourteen (14) days prior to the Final Approval Hearing, papers in support of final

approval of the Settlement and response to any written objections must be filed.

       15.     Opt-Out and Objection Deadline. Persons in the Settlement Class who wish to

either object to the Settlement or request exclusion from the Settlement Class must do so by

February 15, 2021. Persons in the Settlement Class may not both object and opt-out. If a person

both requests to opt-out and objects, the request to opt-out will control. However, if a class

member objects and, after the objection is resolved, seeks to opt-out, the Court may permit

withdrawal in the exercise of its discretion.

       16.     Exclusion from the Settlement Class. To request exclusion from the Settlement

Class, a person in the Settlement Class must follow the directions in the Class Notice and send a

compliant request to the Claims Administrator at the address designated in the Class Notice by the

Opt-Out and Objection Deadline. Exclusion requests must: (a) be signed by the person in the

Settlement Class who is requesting exclusion; (b) include the full name and address of the person

in the Settlement Class requesting exclusion; and (c) include the following statement, or a

statement materially similar to: “I request to be excluded from the settlement in the Neal action.”



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No request for exclusion will be valid unless all of the foregoing information is included or the

Court finds the exclusion to be valid in the exercise of its discretion for good cause shown. No

person in the Settlement Class, or any person acting on behalf of or in concert or participation with

that person (including, but not limited to, an attorney) in the Settlement Class, may exclude any

other person or any group of persons from the Settlement Class.

        17.     The Claims Administrator will retain a copy of all requests for exclusion. Not later

than February 25, 2021, ten days following the Opt-Out and Objection deadline, the Claims

Administrator will file under seal with the Court a declaration that lists all of the exclusion requests

received.

        18.     If a timely and valid exclusion request is made by a person in the Settlement Class,

then the Agreement and any determinations and judgments concerning the Settlement will not bind

the excluded person.

        19.     All non-excluded Settlement Class Members will be bound by all determinations

and judgments concerning the Settlement.

        20.     Objections to the Settlement.      To object to the Settlement, Settlement Class

Members must follow the directions below and in the Class Notice and either file a written

objection with the Court (sending a copy to counsel as set forth below), deliver such objection to

Class Counsel for Class Counsel to file with the Court, or submit such objection via the Settlement

Website by the Opt-Out and Objection Deadline. Delivery to counsel may be accomplished either

by mail or email to each of the following, postmarked or sent no later than the last day to file the

objection: Class Counsel – Aaron D. Radbil, Greenwald Davidson Radbil PLLC, 401 Congress

Avenue, Suite 1540, Austin, Texas 78701 aradbil@gdrlawfirm.com; and to Synchrony’s Counsel

– Julia B. Strickland, Stroock & Stroock & Lavan LLP, 2029 Century Park East, 18 th Floor, Los



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Angeles, California 90067 lacalendar@stroock.com. An objection can be submitted on the

Settlement Website at www.NealTCPAsettlement.com. An objection must: (a) attach documents

establishing, or provide information sufficient to allow the Parties to confirm, that the objector is

a Settlement Class Member, including providing the cellular telephone number called; (b) include

a statement of such Settlement Class Member’s specific objections; and (c) state the grounds for

objection, as well as identify any documents which such objector desires the Court to consider.

The Court may, in its discretion, not consider an objection unless the objection includes all of the

foregoing information. For all timely objections delivered to Class Counsel, but not filed with the

Court, Class Counsel is responsible for filing such objections with the Court prior to the Opt-Out

and Objection Deadline or as soon as practicable after that deadline for objections received on the

final day of the period for objections.

       21.     Unless otherwise permitted by the Court in its discretion for good cause shown, any

Settlement Class Member who fails to comply with Paragraph 20 will not be permitted to object

to the Settlement at the Final Approval Hearing, will be foreclosed from seeking any review of the

Settlement by appeal or other means, will be deemed to have waived his, her or its objections, and

will be forever barred from making any objections in the Actions or any other related action or

proceeding. All Settlement Class Members will be bound by all determinations and judgments in

the Actions, whether favorable or unfavorable to the Settlement Class.

       22.     For any objection filed, the Clerk of the Court is ordered to redact any social

security number, the street address, telephone number and last name except first letter of last name

in order to protect the objector’s privacy. The objector’s first name and city, state and zip code,

as well as the objection, will not be redacted.




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       23.     All Settlement Class Members who wish to receive a Settlement Award must

submit a claim not later than Monday, March 1, 2021, which is 90 calendar days after the Notice

Deadline, in the manner set forth in the Settlement Agreement and the Notice Program.

       24.     Pending the final determination of whether the Settlement should be approved, all

pre-trial proceedings and briefing schedules in the Actions are stayed.

       25.     Pending the final determination of whether the Settlement should be approved,

Plaintiffs and all persons in the Settlement Class are hereby stayed and enjoined from commencing,

pursuing, maintaining, enforcing or prosecuting, either directly or indirectly, any Released Claims

in any judicial, administrative, arbitral or other forum, against any of the Released Parties. Such

injunction will remain in force until the Court enters the Final Approval Order or until such time

as the Parties notify the Court that the Settlement has been terminated. Nothing herein will prevent

any person in the Settlement Class, or any person actually or purportedly acting on behalf of any

such person (s), from taking any actions to stay or dismiss any Released Claim(s). This injunction

is necessary to protect and effectuate the Agreement, this Preliminary Approval Order, and the

Court’s flexibility and authority to effectuate the Agreement and to enter judgment when

appropriate, and is ordered in aid of this Court’s jurisdiction and to protect its judgments. This

injunction does not apply to any person who requests exclusion from the Settlement.

       26.     If for any reason whatsoever this Settlement is not finalized or the Settlement as

detailed in the Agreement is not finally approved by the Court, the certification of the Settlement

Class shall be void and the Parties and the Actions will return to the status quo as it existed prior

to the Agreement, and no doctrine of waiver, estoppel or preclusion will be asserted in any

proceedings, in response to any motion seeking class certification, any motion seeking to compel

arbitration or otherwise asserted at any other stage of the Actions or in any other proceeding. No



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agreements, documents or statements made by or entered into by any Party in connection with the

Settlement may be used by Plaintiffs, any person in the proposed Settlement Class, Synchrony or

any other person to establish liability, any defense and/or any of the elements of class certification,

whether in the Actions or in any other proceeding.

       27.     In the event that the Settlement is not approved, or is terminated, canceled or fails

to become effective for any reason, any money remaining in the Settlement Fund (including

accrued interest), less expenses and taxes incurred or due and owing and payable from the

Settlement Fund in accordance with the Agreement, shall be returned to Synchrony within fifteen

(15) calendar days of the event that causes the Agreement to not become effective.

       28.     No Admission of Liability.         The Agreement and any and all negotiations,

documents, and discussions associated with it, will not be deemed or construed to be an admission

or evidence of any violation of any statute, law, rule, regulation or principle of common law or

equity, or of any liability or wrongdoing by Synchrony, or the truth of any of the claims. Evidence

relating to the Agreement will not be discoverable or used, directly or indirectly, in any way,

whether in the Actions or in any other action or proceeding, except for purposes of demonstrating,

describing, implementing or enforcing the terms and conditions of the Agreement, this Order and

the Final Approval Order.

       29.     Reasonable Procedures to Effectuate the Settlement.              Counsel are hereby

authorized to use all reasonable procedures in connection with approval and administration of the

Settlement that are not materially inconsistent with this Order or the Agreement, including making,

without further approval of the Court, minor changes to the form or content of the Class Notice

and Claim Form and other exhibits that they jointly agree are reasonable and necessary. The Court




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reserves the right to approve the Agreement with such modifications, if any, as may be agreed to

by the Parties without further notice to persons in the Settlement Class.

       30.     Schedule of Future Events. Accordingly, the following are the deadlines by which

certain events must occur:



  November 30, 2020          Deadline for notice to be provided in accordance with the Agreement and
                             this Order (Notice Deadline)


  December 30, 2020          Deadline for filing of Plaintiffs’ Motion for Attorneys’ Fees and Costs and
                             Service Awards


  February 15, 2021          Deadline to file objections or submit requests for exclusion (Opt-Out and
                             Objection Deadline)


  March 1, 2021              Deadline for Settlement Class Members to Submit a Claim Form (Claim
                             Deadline)


                             Deadline for Parties to file the following:
  February 25, 2021             (1) List of persons who made timely and proper requests for exclusion
                                    (under seal);
                                and
                                (2) Motion and memorandum in support of final approval, including
                                    responses to any objections.



  March 15, 2021             Final Approval Hearing




       IT IS SO ORDERED.


                                           Signed: October 16, 2020




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